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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


S.M.S.R., et al.,

                           Plaintiffs,                      Civil Action No. 18-2838-RDM

                    v.                                      [Consolidated with Civil Action
                                                            No. 18-2718-RDM]
Donald J. Trump, et al.,

                           Defendants.




       NOTICE OF RULE 41 VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       The following two Plaintiffs, by and through their attorneys of record, hereby voluntarily

dismiss their claims against Defendants in the above-captioned matter, without prejudice,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

   1. Z.A.G.G.

   2. D.A.L.G.

Dated: January 3, 2019                              Respectfully submitted,

                                                    HOGAN LOVELLS US LLP

                                                    /s/ Justin W. Bernick

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 3, 2019, I electronically filed the foregoing document

with the Clerk of the Court for the U.S. District Court for the District of Columbia using the

CM/ECF system, which sent notification of such filing to counsel of record in this case.



Date: January 3, 2019                                /s/ Justin W. Bernick____________
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